                       Airline Professionals Association | TeamstersLocal 1224
                               Affiliated with the International Brotherhood of Teamsters




Your Contractual Rights
______________________________________________


ABX Crew Members,



The ExCo wants you to be aware of your rights covered under

the current CBA.



1. You are not required to bid OPF.

2. You are not required to answer your phone when on Days Off.

3. You are not required to train on Days Off.

4. You are entitled to recover carry-over days.



Management’s actions regarding your Pension and ignoring a key scope provision which wasnegotiated in
return for a steeply discounted contract in 2009 has resulted in the Exco'sunwillingness to continue to carry

                                                           7
                                                                                                      Exhibit 2
the water for ATSG. We are however in full support of our Atlas/ Southern and Kalitta brothers and sisters as
we are all determined to achieve contractsthat reflect our contributions to our respective organizations.



Fraternally,




ABX Executive Council

APA Teamsters Local 1224
